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                                                           CLERKS OFFICE U.S. DIST. COURT
                                                                                AT CHARLOTTESVILLE, VA
                                                                                      FILED
                                                                                   09/17/2019
                          IN THE UNITED STATES DISTRICT COURT                    JULIA C. DUDLEY, CLERK
                         FOR THE WESTERN DISTRICT OF VIRGINIA                    BY: /s/ J. JONES
                                   Charlottesville Division                         DEPUTY CLERK

   ELIZABETH SINES et al.,                     )
        Plaintiffs,                            )       Civil Action No. 3:17-cv-00072
                                               )
  v.                                           )       ORDER
                                               )
  JASON KESSLER et al.,                        )       By:     Joel C. Hoppe
            Defendants.                        )               United States Magistrate Judge



         This matter is before the Court on Plaintiffs’ motion for leave to file a second amended

  complaint adding Thomas Baker as a named plaintiff to the action. ECF No. 524. No Defendant

  filed a brief opposing the motion, which the Court considers to be unopposed. ECF No. 101. The

  motion is GRANTED for the reasons stated in Plaintiffs’ supporting papers, ECF Nos. 524, 524-

  3. See Fed. R. Civ. P. 15(a)(2). The Clerk of Court is DIRECTED to file Plaintiffs’ proposed

  Second Amended Complaint, ECF No. 524-1, as the operative complaint in this action.

         It is so ORDERED.

         The Clerk shall send a copy of this Order to the parties.

                                                       ENTER: September 17, 2019



                                                       Joel C. Hoppe
                                                       U.S. Magistrate Judge
